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               IN THE SECOND DISTRICT COURT OF WEBER COUNTY,
                    OGDEN DISTRICT COURT, STATE OF UTAH

 NICHOLE WARREN on behalf of her                  AMENDED COMPLAINT - Tier III
 minor son, JOHN DOE

 Plaintiffs,                                      Case #:1:18-cv-00085-DAK

 vs.

 OGDEN CITY SCHOOL DISTRICT and                   Judge: Dale Kimball
 DREW TUTT

  Defendants


Plaintiff alleges as follows:

1.      Plaintiff Nichole Warren’s son, John Doe, is a minor.

2.      John Doe attended Mound Fort Middle School during the 2016/2017 school year.

3.      Mound Fort Middle School is located in Weber County.

4.      During the 2016/2017 school year, Defendant Drew Tutt was John Doe’s teacher.

                          PLAINTIFF’S FIRST CAUSE OF ACTION

5.      During the 2016/2017 school year, Defendant Drew Tutt negligently, carelessly, and/or

        recklessly instructed John Doe to go to the school parking lot with him and three minor

        females.
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6.    In the parking lot, Defendant Drew Tutt negligently, carelessly, and/or recklessly took

      Plaintiff John Doe and the three minor females to his vehicle.

7.    Defendant Drew Tutt negligently, carelessly, and/or recklessly instructed Plaintiff John

      Doe to look inside the vehicle to see a gun which was sitting on the passenger seat.

8.    Defendant Drew Tutt negligently, carelessly, and/or recklessly then instructed Plaintiff

      John Doe to take “naked” pictures of the three minor females and to send them to him.

9.    Defendant Drew Tutt negligently, carelessly, and/or recklessly informed Plaintiff John

      Doe that if he did not do this, Defendant Drew Tutt would do something he would regret.

10.   Defendant Drew Tutt then placed the gun in the glove box of his vehicle.

11.   On February 8, 2017, John Doe approached his guidance counselor, Nichole Goodlife,

      and informed her that Drew Tutt had taken him out to his car and showed him a gun, and

      that Drew Tutt had invited him to his home.

12.   Prior to these events, another student’s mother had filed numerous complaints with both

      the Ogden School District and Mound Fort Middle School regarding Drew Tutt’s

      inappropriate behavior with her minor daughter.

13.   Staff and officials at the Ogden City School District and Mound Fort Middle School were

      aware and on notice that Defendant Drew Tutt was acting inappropriately with students.

14.   Defendants Ogden City School District and Mound Fort Middle School negligently,

      carelessly, and/or recklessly failed to investigate these allegations and/or to protect any of

      the students, including Plaintiff John Doe from Defendant Drew Tutt.

                      PLAINTIFF’S SECOND CAUSE OF ACTION
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15.   Defendant Drew Tutt’s employment, presence, and known behavior toward the students

      at Mound Fort Middle School was injurious to their health, as well as to Plaintiff’s, and

      constituted a public nuisance to students, and specifically to John Doe.

16.   Defendant Drew Tutt’s employment, presence, and known behavior towards the students

      at Mound Fort Middle School, as well as to Plaintiff, was indecent and constituted a

      public nuisance to students, and specifically to John Doe..

17.   Defendant Drew Tutt’s behavior interfered with the enjoyment of life for Plaintiff, as well

      as for the other students at Mound Fort Middle School and constituted a public nuisance

      to students, specifically to John Doe.

18.   Defendant Ogden City School District was on notice Defendant Drew Tutt’s behavior

      constituted a public nuisance as they had received numerous complaints from a student’s

      mother regarding Mr. Tutt’s behavior with her minor daughter.

19.   Defendant Ogden City School District maintained and/or permitted a public nuisance to

      exist toward students and specifically to John Doe.

20.   As a result of Defendant’s negligence, and/or maintenance of a public nuisance, Plaintiff

      has suffered serious emotional and psychological harm to his damage in amounts to be

      proven at trial.

21.   As a result of Defendant’s negligence, and/or maintenance of a public nuisance, Plaintiff

      John Doe has suffered from past, present, and future severe emotional pain and will need

      present and future counseling, medical treatment, and psychological treatment.

22.   As a result of Defendant’s negligence, conduct, and/or maintenance of a public nuisance,

`     Plaintiff John Doe has suffered permanent emotional injuries.
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17.     Plaintiff John Doe seeks an award of damages, as allowed by law, in amounts to be

        proven at trial.

        WHEREFORE, Plaintiff’s requests judgment against Defendant for all damages proved

at trial; for statutory interest on special damages and for such other and further relief as is just

and proper.

        DATED: this August 6, 2018




                                                /s/ Lani K. Wallace
                                                LANI K. WALLACE
                                                Attorney for Plaintiff


                                        Certificate of Service

       I hereby certify that on August 6, 2018 I e-filed through the Court’s electronic filing
system to foregoing Amended Complaint-Tier III to:

        Diana F. Bradley
        Assistant Utah Attorney General
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                                                /s/ Enid D. Morrow
